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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO
                         The Honorable Michael E. Romero

    In re:
                                                  Case No. 18-16796 MER
    MAIREN R. REAGAN,

                  Debtor.                         Chapter 7


                                          ORDER

      THIS MATTER comes before the Court on the Joint Motion to Approve
Settlement Agreement (“Motion”) filed by Mairen R. Reagan (“Debtor”) and
Rachel McQueeney (“McQueeney”).1

      Through the Motion, the Debtor and McQueeney seek the Court’s
approval for a stipulation as to the nondischargeability of debt under 11
U.S.C. § 523(a)(6).2 The Motion indicates the Debtor and McQueeney
reached the stipulation in lieu of commencing an adversary proceeding to
determine the dischargeability of the debt. For the following reasons, the
Court cannot grant the Motion.

      Section 523(c)(1) provides, in relevant part: “the debtor shall be
discharged from a debt of a kind specified in paragraph (2), (4), or (6) of
subsection (a) of this section, unless, on request of the creditor to whom
such debt is owed, and after notice and a hearing, the court determines such
debt to be excepted from discharge under paragraph (2), (4), or (6), as the
case may be, of subsection (a) of this section.” Fed. R. Bankr. P. 7001(6)
expressly states “a proceeding to determine the dischargeability of a debt” is
an adversary proceeding.3 Additionally, Fed. R. Bankr. P. 4007
contemplates the filing of a complaint to obtain a determination of the
dischargeability of a debt.4 The Court interprets these provisions to mean a



1
    ECF No. 71.

2
 Unless otherwise specified, all references herein to “Section,” “§,” “Bankruptcy
Code” and “Code” refer to the U.S. Bankruptcy Code, 11 U.S.C. § 101, et seq.

3
    Fed. R. Bankr. P. 7001(6).

4
    Fed. R. Bankr. P. 4007.
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debt cannot be judicially determined to be nondischargeable under
§ 523(a)(6) absent the filing of an adversary complaint seeking such relief.

      In the absence of an adversary proceeding, the only mechanisms by
which a debtor may “waive” the discharge of a specific debt is through a
written waiver of discharge of all debts under § 727(a)(10) or by executing a
post-petition reaffirmation under § 524(c).5 “Any other waiver is contrary to
the Bankruptcy Code.”6 The Motion does not satisfy the requirements of
either section of the Bankruptcy Code.

         Accordingly,

     IT IS HEREBY ORDERED the Joint Motion to Approve Settlement
Agreement is DENIED without prejudice.

    Dated June 20, 2019                             BY THE COURT:


                                                    _________________________
                                                    Michael E. Romero, Chief Judge
                                                    United States Bankruptcy Court




5
    Hayhoe v. Cole (In re Cole), 226 B.R. 647, 653 (B.A.P. 9th Cir. 1998).

6
 In re Duca, 2004 WL 2274968, at *4 (Bankr. D. Colo. Aug. 9, 2004) (quoting
Airlines Reporting Corp. v. Mascoll (In re Mascoll), 246 B.R. 697, 706 (Bankr. D. D.C.
2000)).



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